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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


United States of America,                                    Case No. 14CR403

               Plaintiff,



               v.                                            ORDER


Susan M. Pioch, et al.,

               Defendant.



       Pending in this case is a motion by defendant Mallory for an order directing the government

to provide a Rule 404(b) Notice thirty days before trial. (Doc. 76). The government opposes the

motion.

       I grant the motion, though I direct the government to file such Notice on or before August

17, 2015. Motions in limine responsive to such Notice will be due August 31, 2015; opposition to

such motions will be due September 10, 2015; replies will be due September 15, 2015.

       Fed. R. Evid. 404(b) requires that the government is to give “reasonable notice” of its intent

to introduce “other acts” evidence. As the government’s opposition makes clear, courts are generally

deferential to the government’s reluctance to provide such notice more than, at most, a couple of

weeks before trial.

       The defendant asks that I order that he receive a 404(b) Notice not later than thirty days

before trial. While that may be sufficient for defense counsel to determine whether to challenge the

admissibility of any such evidence, I want to be as certain as possible that I have adequate
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opportunity to rule on any motions in limine as to such evidence well before trial. Having the

opportunity to do so will enable fair adjudication, put all counsel on notice of what is and is not

admissible, and avoid pre-trial delay and mid-trial disruption.

       Counsel have indicated that this is a paper-heavy case, and that the defense expects to put

the government to its proof. That being so, I anticipate that there may be a fair amount of work for

me to tend to as trial nears. My own schedule during September is such (including, among other

things, a two week trial in another District), I conclude that calling on the government to provide

its 404(b) Notice according to the schedule I set herein is appropriate – indeed, necessary – from my

own standpoint.

       It is, accordingly,

       ORDERED THAT;

       1.      The government shall provide any 404(b) Notice, and the parties shall move and

               brief in limine issues relating to such Notice, in accordance with the schedule set

               herein; and

       2.      Prior orders re. other deadlines prior to trial are confirmed.

       So ordered.



                                                      /s/ James G. Carr
                                                      Sr. U.S. District Judge
